          MEMO
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                                                                                                12/29//20




                                                              December 22, 2020
VIA ECF
Honorable Andrew L. Carter, Jr.
United States District Court
Southern District of New York
40 Foley Square, Room 435
New York, NY 10007
ALCarterNYSDChambers@nysd.uscourts.gov

                               Re: United States v. Jacobs, 20 CR 660 (ALC)

Dear Judge Carter:

        As part of the bail conditions in the above-referenced case, Mr. Rafael Jacobs’s travel was
limited to the Southern and Eastern Districts of New York. We write the Court requesting a
modification of these travel restrictions to allow Mr. Jacobs to travel to the District of New Jersey.
Mr. Jacobs has business customers located in New Jersey, as part of his business installing and
servicing credit card processing machines. He would like to travel to New Jersey to work with
these customers.
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        We have communicated with the Government (AUSAs Samuel Raymond and David
Felton) and Pretrial Services (Officer Dominique Jackson), and both consent to our request. Thank
you for your consideration.

                                                           Respectfully submitted,
                                                                s/
                                                           Marc Agnifilo
                                                           Zach Intrater

cc:    AUSAs Samuel Raymond & David Felton (via email)
       Pretrial Services Officer Dominique Jackson (via email)
                                          The application is granted.
                                          So Ordered.
                                                                                            12/29/20




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